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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                      )          CHAPTER 7
                                            )
Cornerstone Enterprises of Greenwood, Inc., )          Case No. 17-03127-hb
                                            )
                     Debtor,                )
                                            )
_______________________________             )          Adversary No. 18-80027-hb

John K. Fort, Trustee,                         )
                                               )       PLAINTIFF’S MOTION FOR
                Plaintiff,                     )       SUMMARY JUDGMENT
                                               )
         vs.                                   )
                                               )
Earl Brewington,                               )
                                               )
            Defendant.                         )
_______________________________                )

TO:      ALECIA T. COMPTON, ATTORNEY FOR DEFENDANT:

         PLEASE TAKE NOTICE that the Plaintiff, by and through his undersigned counsel, will

move before the presiding judge of the United States Bankruptcy Court for the District of South

Carolina, at a date and time to be set by the Court, but not sooner than ten (10) days after service

hereof, for an Order pursuant to Rule 56 of the Federal Rules of Civil Procedure granting summary

judgment in Plaintiff’s favor against the Defendant, for the reason that there is no genuine dispute

as to any material fact and Plaintiff is entitled to Judgment as a matter of law.

         The Motion is based upon the Memorandum of Law filed contemporaneously herewith.

         We certify that consultation with opposing counsel or party would serve no useful purpose.




                                      (Signature page follows)



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                                        Respectfully submitted,

                                        ROE CASSIDY COATES & PRICE, P.A.


                                        /s/Joshua J. Hudson____________________
                                        Joshua J. Hudson, Fed. ID No. 11620
                                        jhudson@roecassidy.com
                                        Roe Cassidy Coates & Price, P.A.
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                                        Greenville, SC 29603
                                        (864) 349-2600
                                        Attorneys for Trustee


Greenville, South Carolina

September 18, 2018




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